          Case 1:20-cr-00278-TNM Document 80 Filed 02/07/22 Page 1 of 9



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :       CRIMINAL NO. 1:20-cr-00278-TNM
               v.                             :
                                              :
KEITH BERMAN,                                 :
                                              :
                       Defendant.             :


                      GOVERNMENT’S MOTION IN LIMINE
              TO PRECLUDE ADMISSION OF GENULTIMATE! GLUCOSE
              MONITORING SYSTEM, ACCESSORIES, AND PACKAGING

        The United States of America, through its undersigned counsel, respectfully moves this

Court to preclude admission by the defendant Keith Berman of an exhibit—designated by the

defendant and referred to here as Exhibit N—consisting of a glucose monitoring meter, glucose

monitoring test strips, glucose blood testing finger-stick needles, and the packaging for these items.

Exhibit N is irrelevant and therefore inadmissible under Federal Rules of Evidence 401 and 402;

and, to the extent it is marginally relevant, its probative value is substantially outweighed by a

danger of unfair prejudice to the government, confusion of the issues, and misleading the jury under

Federal Rule of Evidence 403.

   I.      Background

        On December 23, 2021, pursuant to a Court order entering a joint stipulation between the

parties, the defendant provided to the government his trial exhibit list. That list (Attachment A)

included as Exhibit N a purported “GenViro Package and Contents.” As alleged in the Superseding

Indictment, GenViro! is the name the defendant gave to the instantaneous, finger-prick Covid-19 blood

test that he falsely claimed his company, Decision Diagnostics Corp. (“DECN”), had developed in

                                                  1
          Case 1:20-cr-00278-TNM Document 80 Filed 02/07/22 Page 2 of 9



March 2020. ECF 19 at ¶ 12. By including on his exhibit list a purported “GenViro Package and

Contents,” the defendant created the impression that DECN had completed development of a Covid-19

blood test and that he intended to display the finished product at trial. The defendant did not offer the

government an opportunity to inspect and photograph the purported “GenViro Package and Contents.”

See Fed. R. Crim. P. 16(b)(1)(A).

        The defendant’s repeated failure thereafter to provide the government with Exhibit N or provide

the government with an opportunity to inspect Exhibit N, contrary to Court orders, has been described

in other pleadings in this case. See ECF 68, 73, 76. Ultimately, the Court granted the government’s

motion for an order to show cause, requiring the defendant to show cause as to why he should not

be held in contempt and/or barred from introducing Exhibit N at trial for failure to comply with the

Court’s January 3, 2022, order. Minute Order of Jan. 10, 2022. That January 3, 2022, order had

required the defendant to, among other things, provide to the government by January 7, 2022, the

opportunity to inspect tangible-object exhibits the defendant plans to use in his case-in-chief.

Minute Order of Jan. 3, 2022.

        In response to the order to show cause, defense counsel stated that they had only then—

almost three weeks after identifying Exhibit N as a “GenViro Package and Contents”—been able

to speak with the defendant about the exhibit and that the defendant would “slightly modify Exhibit

N to limit it to consist only of the pre-existing glucose meter and associated finger stick, which at

least two government witnesses will identify as the basis for the adaption for the blood-based test.”

ECF 77. The defendant represented that “[a] glucose meter and package of finger stick strips is

today being sent to the Government by overnight courier for delivery on the morning of January

11, 2022.” Id.



                                                   2
          Case 1:20-cr-00278-TNM Document 80 Filed 02/07/22 Page 3 of 9



       At a hearing the next day, defense counsel stated that the object sent to the government was

a glucose meter “which was going to being modified for use in the blood testing product.” Tr.

1/11/22 Telephonic Motion Hrg. at 4.          Counsel added that they “believe[d] two of the

government’s witnesses will verify that this was the existing product that was in the process of

being modified for the blood testing product, and that that will be relevant to refute any assertion

that this was all some sort of fraud or some sort of scheme and that no product ever existed.” Id.

at 4-5. Defense counsel further explained that “this is a product created by Decision Diagnostics

and manufactured by . . . the company in South Korea, and it contains the technology which Mr.

Berman sought to adapt for the blood test.” Id. at 6.

       The government received a package with Exhibit N on January 13, 2022. The package

included a DECN GenUltimate! glucose monitoring device, GenUltimate! test strips for that

device, the boxes for those products, and a plastic zip top bag with approximately 10 finger stick

blood testing needles:




                                                 3
           Case 1:20-cr-00278-TNM Document 80 Filed 02/07/22 Page 4 of 9




   II.      Legal Standard

         Federal Rule of Evidence 401 provides that “[e]vidence is relevant if: (a) it has any

tendency to make a fact more or less probable than it would be without the evidence; and (b) the

fact is of consequence in determining the action.” Federal Rule of Evidence 402 states that

“[i]rrelevant evidence is not admissible.”

         Under Federal Rule of Evidence 403, “[t]he court may exclude relevant evidence if its

probative value is substantially outweighed by a danger of one or more of the following: unfair

prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or needlessly

presenting cumulative evidence.”


                                               4
            Case 1:20-cr-00278-TNM Document 80 Filed 02/07/22 Page 5 of 9



   III.      Argument

          A. Proposed Exhibit N Is Not Relevant.

          The defendant’s proposed Exhibit N is not relevant to the issues in this case, which revolve

around whether the defendant repeatedly lied to the investing public about the fact that he had

developed an instantaneous finger-prick blood test for Covid-19 that he referred to as GenViro!.

Exhibit N is a glucose test and accessories—nothing less, nothing more. It is an example of the

glucose test product and accessories that DECN sells and ships to its customers. It existed well

before the coronavirus pandemic. It is not a Covid-19 test. It is not a glucose test that had been

modified into a Covid-19 test. It is not even a glucose test that was in the process of being

modified into a Covid-19 test.

          The mere fact that the defendant’s company sold to customers a glucose test that used

impedance technology is not relevant to any issues in this case. There is no dispute that DECN

sold such devices. And the government does not intend to—because it need not—prove or argue

that the defendant never had a glucose test that used impedance, or that he did not have an idea or

a hope that his pre-existing glucose test could be modified into a Covid-19 blood test, or that the

entire basis of the defendant’s fraud was crafted out of whole cloth. Indeed, it was because the

defendant had a glucose test that used impedance technology that he was able to convince investors

of the lie that he had developed a Covid-19 blood test using the same technology, which had been

validated and was close to being approved by the Food and Drug Administration. The fact that

the defendant did have a pre-existing glucose test that it sold to customers does not make his

statements about developing a Covid-19 test any less false.

          In any event, even if the fact that DECN sold a glucose test that used impedance technology

is relevant in some respect, there is no independent relevance to the glucose test itself as a tangible
                                                  5
          Case 1:20-cr-00278-TNM Document 80 Filed 02/07/22 Page 6 of 9



object, nor any benefit to showing it to the jury. The appearance of the test does not make any fact

of consequence in this case more or less probable. To the contrary, the physical test itself gives

rise to substantial concerns under Federal Rule of Evidence 403, as explained below.

       B. Any Probative Value Is Substantially Outweighed by the Dangers of Unfair
          Prejudice and That the Jury Will Be Confused or Misled.

       To the extent there is some marginal relevance to seeing the glucose test, the probative

value of the glucose test is substantially outweighed by the danger of unfair prejudice to the

government, confusing the issues, and misleading the jury. See Fed. R. Evid. 403. Again, Exhibit

N is solely a glucose test, and its existence and appearance have no bearing on the truth or falsity

of the defendant’s claims about whether the defendant had developed his purported Covid-19 blood

test. There is a substantial risk, however, that the jury might see a physical product and be

confused or misled into believing that DECN had created a Covid-19 blood test or that the glucose

test itself could simply be used to detect the Covid-19 virus or quickly and easily modified to detect

the Covid-19 virus.

       In that respect, any analysis of Exhibit N and the defendant’s likely use of the exhibit at

trial cannot be divorced from the circumstances surrounding its initial description, the defendant’s

recalcitrance in providing Exhibit N to the government for inspection (particularly when it is a

sample of a product that DECN sells and has readily available), and the sudden alteration of its

description once the defendant was required by the Court to show it to the government. As noted

above, the defendant initially described Exhibit N as a “GenViro Package and Contents,” which is

the purported COVID-19 blood test that, at the time of the defendant’s false and misleading

statements to the market, did not exist.      The defendant resisted showing Exhibit N to the

government, but, when finally required to do so, he “slightly modif[ied]” Exhibit N to “limit it to

                                                  6
          Case 1:20-cr-00278-TNM Document 80 Filed 02/07/22 Page 7 of 9



consist only of the pre-existing glucose meter and associated finger stick, which at least two

government witnesses will identify as the basis for the adaption for the blood-based test.” ECF

77. The defendant’s pivot is hardly a “slight modif[ication]”; rather, it is a bait and switch. And

the defendant has never provided an explanation for why he labeled Exhibit N as something that

did not exist at the time of his false statements. The defendant appears to be of the view that if he

calls his glucose test a Covid-19 blood test, then his glucose test is a Covid-19 blood test—which

is entirely consistent with the defendant’s fraudulent conduct alleged in the Superseding

Indictment. All of this indicates that there is a significant risk that at trial the defendant will use

Exhibit N to suggest to the jury that he had something more than a mere idea for a Covid-19 blood

test. This would prejudice the government and confuse and mislead the jury.




                                                  7
         Case 1:20-cr-00278-TNM Document 80 Filed 02/07/22 Page 8 of 9



       Accordingly, this Court should enter an order excluding Exhibit N under Federal Rules of

Evidence 401, 402, and 403.



                                           Respectfully submitted,

                                           JOSEPH S. BEEMSTERBOER
                                           Acting Chief, Fraud Section
                                           Criminal Division

                                    By:    /s/
                                           Christopher Fenton
                                           Trial Attorney
                                           Justin Weitz
                                           Acting Principal Assistant Chief
                                           Fraud Section, Criminal Division
                                           United States Department of Justice
                                           1400 New York Ave. NW
                                           Washington, DC 20005

                                           Vijay Shanker
                                           Deputy Chief
                                           Appellate Section, Criminal Division
                                           United States Department of Justice
                                           950 Pennsylvania Ave. NW
                                           Washington, DC 20530




                                              8
          Case 1:20-cr-00278-TNM Document 80 Filed 02/07/22 Page 9 of 9



                                  CERTIFICATE OF SERVICE

       I certify that on February 7, 2022, I filed a true and correct copy of the foregoing with the
Clerk of Court via ECF.

                                                     /s/ Vijay Shanker




                                                 1
